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2
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4    Fax: 559-495-0123
5    Attorney for Defendant: Joshua Wilson Fisher
6

7                           IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,                       )    Case No.: 6:18-mj-00006 MJS
                                                     )
11
                          Plaintiff,                 )    REQUEST TO APPEAR
12                                                   )    TELEPHONICALLY AT JULY 10, 2018
            vs.                                      )    STATUS CONFERENCE: ORDER
13                                                   )    THEREON
                                                     )
14   JOSHUA WILSON FISHER,
                                                     )
15                                                   )
                          Defendants,
                                                     )
16                                                   )
17

18          The Defendant, JOSHUA WILSON FISHER, and his attorney of record, BRIAN C.
19
     ANDRITCH, request that Counsel be allowed to appear telephonically at the July 10, 2018
20
     Status Conference.
21
            Defense counsel is trying to economize his travel time to U.S. District Court in Yosemite
22

23   National Park by only driving to Yosemite when he has multiple cases on calendar and not when

24   there is just one case for which he has to appear.
25
     Dated: June 27, 2018                                         _/S/Brian C. Andritch_____
26                                                                Brian C. Andritch
                                                                  Attorney for Defendant
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1                                               ORDER
2

3           The court orders that defense counsel may appear telephonically at the July 10, 2018,

4    Status Conference at 10:00 a.m.

5
     IT IS SO ORDERED.
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7
        Dated:     June 29, 2018                          /s/   Jeremy D. Peterson
8                                                     UNITED STATES MAGISTRATE JUDGE
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